      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                   Page 1 of 11 PageID 1372


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

RICHARD W. DEOTTE et al.,                      )
                                               )
               Plaintiffs,                     )       Case No. 4:18-CV-00825-Y
                                               )
       v.                                      )
                                               )
ALEX M. AZAR II, in his official               )
capacity as Secretary of Health and            )
Human Services et al.,                         )
                                               )
               Defendants.                     )

                   DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION
                FOR SUMMARY JUDGMENT AND PERMANENT INJUNCTION

       TO THE HONORABLE REED O’CONNOR, UNITED STATES DISTRICT JUDGE
       PRESIDING:

       Defendants respectfully respond to Plaintiffs’ motion for summary judgment and permanent

injunction, ECF No. 34 (“Plaintiffs’ motion”).

       1. On March 30, 2019, the Court certified two classes of plaintiffs in this action. ECF No. 33.

The first class, the “Employer Class,” consists of “[e]very current and future employer in the United

States that objects, based on its sincerely held religious beliefs, to establishing, maintaining, providing,

offering, or arranging for: (i) coverage or payments for some or all contraceptive services; or (ii) a plan,

issuer, or third-party administrator that provides or arranges for such coverage or payments.” Id. at 7.

The second class, the “Individual Class,” comprises

       [a]ll current and future individuals in the United States who: (1) object to coverage or
       payments for some or all contraceptive services based on sincerely held religious beliefs;
       and (2) would be willing to purchase or obtain health insurance that excludes coverage or
       payments for some or all contraceptive services from a health insurance issuer, or from a
       plan sponsor of a group plan, who is willing to offer a separate benefit package option, or
       a separate policy, certificate, or contract of insurance that excludes coverage or payments
       for some or all contraceptive services.



                                                      1
       Case 4:18-cv-00825-O Document 38 Filed 04/15/19                 Page 2 of 11 PageID 1373


Id. at 8.

        These two classes of plaintiffs have moved for summary judgment and a permanent injunction

against certain federal requirements affecting the classes (by operation of statutes, regulations, and

guidance) concerning contraceptive coverage in health plans (“the Mandate”). The Mandate requires all

group health plans and health insurance issuers that offer non-grandfathered group or individual health

coverage to provide coverage, without cost-sharing, for all Food and Drug Administration-approved

contraceptive methods, sterilization procedures, and related patient education and counseling for women

with reproductive capacity, unless certain exemptions apply. Through 2015, the federal government

issued regulations specifying an exemption for churches and their integrated auxiliaries. The regulations

also created an accommodation process whereby employers with religious objections to the Mandate

could comply, and their employees would receive coverage through those employers’ health insurance

issuers or third party administrators (unless the employers provided coverage through certain self-

insured church plans, in which case the third party administrators were not required to provide the

coverage to employees). See 45 C.F.R. § 147.130(a)(1)(iv); 29 C.F.R. § 2590.715–2713(a)(1)(iv); 26

C.F.R. § 54.9815–2713(a)(1)(iv). These regulations proved insufficient to satisfy the religious

objections raised by some employers. See 83 Fed. Reg. 57,536, 57,542 (Nov. 15, 2018).

        In November 2018, the federal government promulgated Final Rules to amend the regulations

and expand the exemptions. The Final Rules expand the religious exemption to nongovernmental plan

sponsors, as well as institutions of higher education in their arrangement of student health plans, to the

extent that those entities have sincere religious objections to providing contraceptive coverage. See 83

Fed. Reg. at 57,558-65. The Final Rules retain the accommodation as a voluntary option. See id. at

57,537-38. The Final Rules’ religious exemption also provides for an “individual exemption” that

allows—but does not require—willing employers and insurers to offer plans omitting contraceptive

coverage to individuals with religious objections to such coverage. See, e.g., id. at 57,567-69. The Final
      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                  Page 3 of 11 PageID 1374


Rules were set to go into effect on January 14, 2019, but enforcement of those Rules has been

preliminarily enjoined by two district courts. See California v. Health and Human Servs., 351 F. Supp.

3d 1267 (N.D. Cal. 2019) (issuing preliminary injunction against implementation of Final Rules in

fourteen plaintiff-states); Commonwealth of Pennsylvania v. Trump, 351 F. Supp. 3d 791 (E.D. Pa.

2019) (entering nationwide preliminary injunction). The government has appealed both decisions. See

California v. Health and Human Servs., No. 19-15118 (9th Cir. Jan. 24, 2019); Commonwealth of

Pennsylvania v. President of the United States, No. 19-1189 (3d Cir. Jan. 24, 2019).

       2. Although Defendants do not agree with all of the statements and arguments in Plaintiffs’

motion, Defendants are not raising a substantive defense of the Mandate or the accommodation process

with respect to Plaintiffs’ Religious Freedom Restoration Act (“RFRA”) challenge. Defendants agree

that requiring employers with sincerely held religious objections to comply with the Mandate or the

accommodation process would violate RFRA. See 83 Fed. Reg. at 57,544. Defendants similarly agree

that the Mandate would violate RFRA with respect to individuals who hold sincere religious objections

to contraceptive coverage and would be able to obtain a plan that omits contraception from a willing

employer or issuer, but cannot obtain one solely because of the Mandate’s prohibition on an employer

and/or issuer providing them with such a plan. See, e.g., id.

       Accordingly, while reserving their objections to class certification, Defendants do not oppose an

order by this Court entering partial summary judgment on the legal question whether any employers or

individuals who in fact fall within the certified classes have stated a valid RFRA claim. Defendants

likewise take no position on whether the named plaintiffs, who have established their sincere religious

objections to the Mandate and thus their class membership, are entitled to a declaratory judgment on

these grounds. And, with the important caveats that “‘the scope of injunctive relief is dictated by the

extent of the violation established,’ and an injunction must be narrowly tailored to remedy the specific

action necessitating the injunction,” Fiber Sys. Int’l, Inc. v. Roehrs, 470 F. 3d 1150, 1161 (5th Cir.
                                                     3
      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                    Page 4 of 11 PageID 1375


2006) (citing cases) (emphasis added), Defendants also take no position on whether permanent

injunctive relief is appropriate in this case with respect to the named plaintiffs. The preliminary

injunctions in Pennsylvania and California do not purport to interfere with this case or other existing

litigation challenging the prior rules. See Pennsylvania, 351 F. Supp. 3d at 829-30 (“A preliminary

injunction will maintain the status quo: those eligible for exemptions or accommodations prior to

October 6, 2017 will maintain their status; those with injunctions preventing enforcement of the

Contraceptive Mandate will maintain their injunctions; those alleging RFRA violations may pursue

‘Judicial Relief;’ and those with coverage will maintain their coverage as well.” (footnote omitted));

California, 351 F. Supp. 3d at 1299 n.16 (observing that “many [entities] are subject to court orders

prohibiting the Federal Defendants from enforcing the mandate or accommodation requirements against

them. Those orders (and any other similar orders) are unaffected by the injunction entered here.”).

        3. But Defendants oppose Plaintiffs’ motion to the extent it seeks additional relief beyond the

named plaintiffs at this time. The putative unnamed class members have not yet established that they in

fact have a sincere religious objection to the Mandate. That, however, is an essential requirement of

both class membership and of proving a claim on the merits, Tagore v. United States, 735 F.3d 324, 328

(5th Cir. 2013 (“The sincerity of a plaintiff’s belief in a particular religious practice is an essential part

of the plaintiff’s prima facie case under . . . RFRA.”); moreover, because the identity of the certified

class has not yet been resolved, class-wide injunctive relief would be overly vague under Fed. R. Civ. P.

65 and pose a risk that Defendants will be subject to contempt of court for unintentionally violating such

an injunction. The entry of court-ordered relief requires more certainty for Defendants than

administrative protections like those set forth in the Final Rules themselves.

        The Departments of Health and Human Services, Labor, and the Treasury (“the Agencies”)

explained in the Final Rules, in response to comments asking the Agencies not to apply religious
      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                   Page 5 of 11 PageID 1376


exemptions unless they first receive notice that an entity or individual satisfies the conditions of the

exemption, that the Agencies

       believe it is appropriate to not require exempt entities to submit a self-certification or
       notice. The previous exemption did not require a self-certification or notice, and the
       Departments did not collect a list of all entities that used the exemption. The Departments
       believe the approach under the previous exemption is appropriate for the expanded
       exemption. Adding a self-certification or notice to the exemption process would impose
       an additional paperwork burden on exempt entities that the previous regulations did not
       impose, and would also involve additional public costs if those certifications or notices
       were to be reviewed or kept on file by the government.

              The Departments are not aware of instances where the lack of a self-certification
       under the previous exemption led to abuses or to an inability to engage in enforcement.
       The Mandate is enforceable through various mechanisms in the [Public Health Service]
       Act, the [Internal Revenue] Code, and ERISA. Entities that insincerely or otherwise
       improperly operate as if they are exempt would do so at the risk of enforcement under such
       mechanisms. The Departments are not aware of sufficient reasons to believe those
       measures and mechanisms would fail to deter entities from improperly operating as if they
       are exempt.

83 Fed. Reg. at 57,558.

       The Agencies stand by this conclusion with respect to operation of the exemptions set forth in

the Final Rules. Agencies may promulgate rules creating a generally applicable exemption from the

Mandate for those with sincere religious objections, even though the identities of all employers and

individuals who will invoke those exemptions are unknown in advance (and, in many cases, may never

come to the Agencies’ attention). But it is a different matter for the Agencies to be subjected to court-

ordered final relief—let alone injunctive relief enforceable on pain of contempt—with respect to a class

whose membership has not yet been proven. See generally Xcaliber Int’l Ltd. LLC v. Atty. Gen. State of

Louisiana, 612 F.3d 368, 382 (5th Cir. 2010) (explaining the distinction between state action “properly

characterized as legislative or adjudicative” and noting that, “[g]enerally speaking, legislative actions are

non-individualized determinations that affect a wider class of individuals, whereas adjudicative actions

involve individualized assessments that affect a smaller number of people in a more exceptional

manner.”) (citations omitted). In class actions, even assuming that “[t]he court need not know the
                                                      5
        Case 4:18-cv-00825-O Document 38 Filed 04/15/19                  Page 6 of 11 PageID 1377


identity of each class member before certification,” the class must be sufficiently ascertainable, such that

“the court [is] able to identify class members at some stage of the proceeding.” Frey v. First Nat’l Bank

Southwest, 602 F. App’x 164, 168 (5th Cir. 2015) (quoting NEWBERG ON CLASS ACTIONS § 3.3 (5th ed.

2011)); accord ECF No. 33 at 16 (citing Seeligson v. Devon, 753 F. App’x 225, 230 (5th Cir. 2018).

That is not the case here. Consequently, under the analysis proper to the class-action context, relief

extending beyond the named plaintiffs would not be proper on the evidentiary record that exists at this

time.

         In particular, putative class members have not yet established that they in fact have a sincere

religious objection to the Mandate. Absent a showing of “a sincerely held religious belief,” and an

opportunity for the Defendants to contest such a showing if there are sufficiently serious grounds to

believe any objections are insincere, the unnamed class members have failed to prove their membership

in the class and to establish “a merits question under the RFRA analysis,” as this Court itself previously

recognized. ECF No. 33 at 15. Indeed, it appears that this Court contemplated that employers and

individuals would need to “opt into the proposed classes,” id., which makes sense as it would be the

only way to establish actual class membership given that the class definitions turn on the sincerity of

religious belief. Although the certified class is entitled at this time to partial summary judgment—

because any actual class member would have a valid RFRA claim—the class is not yet entitled to

declaratory relief, because putative class members must first establish that they in fact have a sincere

religious objection to the Mandate in order to prove actual class membership and thus the final element

of their RFRA claim.

         Moreover, “an injunction is overly vague if it fails to satisfy the specificity requirements set out

in Rule 65(d)(1).” Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016). At bottom, because

“‘vagueness’ is a question of notice, i.e., procedural due process,” Rule 65(d) “embodies the elementary

due process requirement of notice.” Id. (quoting U.S. Steel Corp. v. United Mine Workers of Am., 519
      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                  Page 7 of 11 PageID 1378


F.2d 1236, 1246 nn.19-20 (5th Cir. 1975)); see also Moore v. Tangipahoa Par. Sch. Bd., 864 F.3d 401,

407 (5th Cir. 2017) (stating that “individuals and entities subject to injunctions must have fair notice of

the terms of the injunction”). Rule 65(d) requires that “[e]very order granting an injunction” must “state

its terms specifically” and “describe in reasonable detail—and not by referring to the complaint or other

document—the act or acts restrained or required.” Simply put, “[a]n injunction must simply be framed

so that those enjoined will know what conduct the court has prohibited.” Scott, 826 F.3d at 213 (quoting

Meyer v. Brown & Root Constr. Co., 661 F.2d 369, 373 (5th Cir. 1981)). The drafting standard has been

described as “that an ordinary person reading the court’s order should be able to ascertain from the

document itself exactly what conduct is proscribed.” U.S. Steel Corp., 519 F.2d at 1246 n.20.

       The specificity requirement of Rule 65 “was designed to prevent uncertainty and confusion on

the part of those faced with injunctive orders, and to avoid the possible founding of a contempt citation

on a decree too vague to be understood.” Scott, 826 F.3d at 212 (quoting Schmidt v. Lessard, 414 U.S.

473, 476 (1974)). “The judicial contempt power is a potent weapon. When it is founded upon a decree

too vague to be understood, it can be a deadly one. Congress responded to that danger by requiring that

a federal court frame its orders so that those who must obey them will know what the court intends to

require and what it means to forbid.” Schmidt, 414 U.S. at 476 n.2 (citation omitted). Thus, courts have

found injunctions too vague when they failed to provide sufficient notice of the individuals or entities

against whom conduct was enjoined. See, e.g., Am. Red Cross v. Palm Beach Blood Bank, Inc., 143

F.3d 1407, 1411 (11th Cir. 1998) (injunction prohibiting entity from contacting “any donor whose name

is contained on Plaintiff’s [trade secret donor] lists” impermissibly vague because enjoined party had

“no way to determine whether a given member of the public might happen to appear on” a list not in its

possession); NLRB v. Teamsters, 419 F.2d 1282, 1283 (6th Cir. 1970) (injunction directing employers to

cease from restraining or coercing the employees of a specified company “or the employees of any other

employer within its jurisdictional territory” was too vague where, inter alia, the injunction failed to
                                                     7
      Case 4:18-cv-00825-O Document 38 Filed 04/15/19                  Page 8 of 11 PageID 1379


define the specified jurisdiction “and thus it provides no means of defining the people for whom

protection is sought”).

       Here, as explained by Defendants in prior briefing, not all employers or individuals that are class

members are known to Defendants. ECF No. 30 at 6. Although the class definition sets forth criteria for

membership in the class generally, and that criteria tracks the definitions applicable to the exemptions in

the Final Rules (where no advance identification of exempt status is necessary), the actual membership

of the class is not readily ascertainable by Defendants under the terms of the proposed injunction.

Defendants do not themselves possess the necessary facts to make such a determination. As noted, a

key element of class membership is the sincerity of the putative member’s religious beliefs, as well as

the scope of any particular class member’s religious objections. Both are information in possession of

employers and individuals, not Defendants—especially since, as described above, Defendants do not

require exempt entities or individuals to submit notices of their exempt status. Accordingly, the

proposed injunction puts Defendants at risk of contempt when enforcing the Mandate, if they

inadvertently apply it to an employer or individual who happens to be a class member or if there is a

dispute over whether an employer or individual is, in fact, a class member.

       Again, to be clear, Defendants do not dispute that any employer or individual who actually falls

within the class definition has stated a valid RFRA claim, for the reasons the Agencies themselves

provided in the Final Rules. Moreover, the Agencies do not contend that, when the Final Rules are in

effect, the Agencies need advance knowledge of the sincerity of an exempt entity’s or individual’s

religious beliefs, or the scope of their religious objections, in order to implement the exemptions in the

Final Rules or otherwise enforce the Mandate. As noted above, the Mandate’s enforcement mechanisms

exist under the Public Health Service Act, the Internal Revenue Code, and ERISA (in addition to the

Affordable Care Act). “Entities that insincerely or otherwise improperly operate as if they are exempt

would do so at the risk of enforcement under such mechanisms.” 83 Fed. Reg. at 57,558. This presents
       Case 4:18-cv-00825-O Document 38 Filed 04/15/19                 Page 9 of 11 PageID 1380


minimal risk to the Agencies, because they intend to apply the exemptions faithfully when the Final

Rules are in effect. And if they enforce the Mandate without the knowledge that an entity or individual

is exempt, the entity or individual can call attention to their exempt status, and the Agencies can then

take that information into account during their enforcement process without being subject to significant

liability for not having advance notice of that information. In other words, when the Final Rules are in

effect, risk that may exist due to uncertainty about an entity’s or individual’s exempt status does not fall

upon the Agencies in the first instance.

        But the risk to the Agencies is fundamentally different under an injunction. The fatal problem

under Plaintiffs’ injunction motion is that it is unknown and unknowable on the record before this Court

which employers and individuals in the country in fact fall within the class definition—information

necessary in order for the Agencies to know how to avoid contempt of court. Plaintiffs have provided

no means of identifying the members of the class. Defendants thus have been denied any means of

contesting class membership, and even assuming the classes were properly certified for litigation, this

Court is not “able to identify class members at [any] stage of the proceeding.” Frey, 602 F. App’x at

168.

        In sum, Plaintiffs are improperly proposing that this Court enter final judgment at this time on

behalf of employers and individuals who have not yet established their actual membership in the

certified classes—thereby awarding relief on behalf of putative class members who have not yet

established a valid merits claim and further requiring Defendants to enforce the Mandate under a

continuing threat of contempt and necessitating collateral litigation to resolve any disputes over whether

a particular employer or individual is actually a class member in the first place. All this puts the cart

before the horse: courts may not enter judgment first and ask basic questions later about who actually

has a valid merits claim and is covered by the class judgment. Consequently, Defendants respectfully

oppose the entry of any final relief at this time that extends beyond the named plaintiffs, unless and until
                                                      9
     Case 4:18-cv-00825-O Document 38 Filed 04/15/19                  Page 10 of 11 PageID 1381


any unnamed employers and individuals establish their sincere religious objection to the mandate—and

thus their actual class membership and the final element of their otherwise-valid RFRA claim.

        4. Without waiving such objections, in the event that the Court nonetheless grants final relief

that extends beyond the named plaintiffs, Defendants respectfully request that, at a minimum, any final

relief issued by the Court—and especially any injunctive relief—expressly state that Defendants shall

not be deemed to be out of compliance with the Court’s order unless a putative class member objects to

Defendants’ enforcement of the Mandate against it, the Court determines after an adversarial hearing

that the objector is in fact a member of the class, and Defendants nonetheless continue to enforce the

Mandate against the class member. Additionally, Defendants respectfully request that, with respect to

each class member, any relief be limited to the provision of sterilization or contraceptive drugs, devices,

or procedures and related education and counseling to which such class member has established a

sincerely held religious objection.

        Finally, though Defendants take no position as to whether declaratory or injunctive relief is

appropriate with respect to the named plaintiffs, Defendants respectfully preserve all appeal rights,

including with respect to the Court’s March 30, 2019 Order granting Plaintiffs’ motion for class

certification.

 Dated: April 15, 2019                            Respectfully submitted,


                                                  JOSEPH H. HUNT
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                                                    /s/ Daniel Riess
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     Case 4:18-cv-00825-O Document 38 Filed 04/15/19                   Page 11 of 11 PageID 1382


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                                     CERTIFICATE OF SERVICE

        On April 15, 2019, I electronically submitted the foregoing document with the clerk of court for

the U.S. District Court, Northern District of Texas, using the electronic case filing system of the court. I

hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2) or the local rules.


                                                                /s/ Daniel Riess




                                                       11
